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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF LOUISIANA


UNITED STATES OF AMERICA                                CRIMINAL ACTION

VERSUS                                                  NO. 09-391

JIMMY ISAAC                                             SECTION R


                         ORDER AND REASONS

      Before the Court is Defendant Jimmy Isaac’s motion to vacate his

sentence under 28 U.S.C. § 2255. 1 For the following reasons, the Court

denies the motion.

      On June 9, 2010, Isaac pleaded guilty to one count of conspiracy to

possess with intent to distribute one kilogram or more of heroin, in violation

of 21 U.S.C. §§ 841 and 846, and one count of possessing a firearm in

furtherance of a drug trafficking crime, in violation of 18 U.S.C. § 924(c). 2 In

his plea agreement, Isaac waived his right to appeal and collaterally

challenge his conviction and sentence. 3 Isaac was sentenced to 180 months

imprisonment, reflecting 120 months on the conspiracy charge and 60

months on the firearm offense, to be served consecutively. 4


1     R. Doc. 919.
2     R. Doc. 165; R. Doc. 168.
3     R. Doc. 168.
4     R. Doc. 203 at 2.
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      Isaac now asks the Court to vacate his sentence in light of Johnson v.

United States, 135 S. Ct. 2551 (2015).5 The Supreme Court in Johnson held

that the “residual clause” of the Armed Career Criminal Act is

unconstitutionally vague. 135 S. Ct. at 2557. This clause defines a “violent

felony” as, among other things, a felony “involv[ing] conduct that presents a

serious potential risk of physical injury to another.” See id. at 2555-56

(quoting 18 U.S.C. § 924(e)(2)(B)). But Isaac’s sentence was enhanced

because he possessed a firearm in furtherance of a drug trafficking crime,

not a “violent felony” or a “crime of violence.” The Supreme Court’s opinion

in Johnson did not affect, or even address, the “drug trafficking crime”

definition in 18 U.S.C. § 924(c). Isaac’s claim is therefore meritless.

      Rule 11 of the Rules Governing Section 2255 Proceedings provides that

“[t]he district court must issue or deny a certificate of appealability when it

enters a final order adverse to the applicant. Before entering the final order,

the court may direct the parties to submit arguments on whether a certificate

should issue.” Rules Governing Section 2255 Proceedings, Rule 11(a). A

court may issue a certificate of appealability only if the petitioner makes “a

substantial showing of the denial of a constitutional right.” 28 U.S.C. §

2253(c)(2); Rules Governing Section 2255 Proceedings, Rule 11(a) (noting


5     R. Doc. 919.
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that § 2253(c)(2) supplies the controlling standard).         The “controlling

standard” for a certificate of appealability requires the petitioner to show

“that reasonable jurists could debate whether (or, for that matter, agree that)

the petition should have been resolved in a different manner or that the

issues presented [are] ‘adequate to deserve encouragement to proceed

further.’” Miller-El v. Cockrell, 537 U.S. 322, 336 (2003).

      For the reasons set forth in this order, Isaac has not made a substantial

showing of the denial of a constitutional right. IT IS ORDERED that Isaac’s

motion to vacate is DENIED. The Court will not issue a certificate of

appealability.




      New Orleans, Louisiana, this _______
                                     19th day of September, 2017.




                      _____________________
                           SARAH S. VANCE
                    UNITED STATES DISTRICT JUDGE




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